The plaintiff filed a petition in the county court of Guilford to have *Page 168 
dower assigned to her in the lands of which her husband died seized in fee. The jury made an allotment of land for her dower. The defendants (the heirs at law) contended that the jury had given her more land in value than she by law was entitled to. The cause came by appeal from the county court to the Superior Court, where affidavits for and against the verdict of the jury were filed. The Superior Court gave judgment for the plaintiff, and the defendants appealed to the Supreme Court.
The evidence by affidavits offered to the Superior Court on the question of admeasurement of dower by the jury composes no part of the record of the case, and, of course, this Court cannot judicially see it. S. v. Godwin,27 N.C. 401. There is no case sent here from the Superior Court which raises any point of law for our revision. We do not see that any error in law has been committed by the Superior Court, and the judgment must be
PER CURIAM.                                             Affirmed.
(225)